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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF FLORIDA
                           TAMPA DIVISION

                    CASE NO.: 8:22-cv-00511-CEH-TGW


SAMANTHA M. MARKLE,

            Plaintiff,
v.

MEGHAN MARKLE,

           Defendant.
________________________/

     PLAINTIFF’S MOTION TO DISQUALIFY JUDGE HONEYWELL

      The Plaintiff, SAMANTHA M. MARKLE, by and through her

undersigned counsel, hereby files this, her Motion to Disqualify the

Honorable Charlene E. Honeywell, United States District Judge for the

Middle District of Florida, under 28 U.S.C. § 445(a), and as grounds for

the disqualification states as follows:

      1.    The Plaintiff files her Motion for Disqualification of the

 Honorable Judge Charlene E. Honeywell under 28 U.S.C. § 445(a).

      2.    This case involves a two-count action for Defamation and

 Defamation by Implication brought by Samantha Markle against her half-

 sister, Meghan Markle.

      3.    Meghan, along with her husband Prince Harry, are widely



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 known public figures who maintain a long-standing friendship with

 Barack and Michelle Obama.

      4.     The basis for the disqualification of the presiding Judge is that

 Charlene E. Honeywell was nominated to her current position as a Federal

 Court Judge, on November 12, 2009, by Barack Obama, the 44th

 President of the United States.

      5.     Due to the fact that Judge Honeywell was appointed to the

 Federal Bench by Obama in 2009, and the Obama family, Prince Harry,

 and Meghan are “allies” and strong supporters of one another, there exists

 a reasonable basis that Judge Honeywell’s impartiality will be questioned.

      6.     Under 28 U.S.C. § 445(a) “Any justice, judge, or magistrate

 judge of the United States shall disqualify himself in any proceeding in

 which his impartiality might reasonably be questioned.” 28 U.S.C.

 § 455(a).

      7.     Section    455(a)        requires         recusal         when   the   objective

 circumstances create an appearance of partiality. A charge of partiality

 must be supported by some factual basis, however. Recusal cannot be

 based on ‘unsupported, irrational or highly tenuous speculation.’” United

 States v. Cerceda, 188 F.3d 1291, 1293 (11th Cir. 1999) (quoting In re

 United States, 666 F.2d 690, 694 (1st Cir. 1981)).



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      8.    In 2020, Meghan Markle joined forces with Michelle Obama’s

 voter registration organization When We All Vote.                             The online voter

 registration drive was co-chaired by Mrs. Obama who Meghan specifically

 called “her friend.”

      9.    Moreover, it is well-known that Prince Harry and Obama are

 “allies.” Prince Harry frequently visited Obama in the White House during

 his presidency in 2013, 2015, and 2016. Prince Harry also welcomed the

 Obama’s to Kensington Palace during their visit to the United Kingdom.

      10.   In September of 2017, Prince Harry even conducted an

 intimate interview on behalf of The New York Times with Obama to discuss

 life after the White House, the presidential inauguration, and the role of

 social media in leadership.

      11.   Additionally, in 2018 Meghan visited Mrs. Obama at the

 London’s Southbank Centre to watch her speak on her memoir Becoming.

 Following the speech, Kensington Palace confirmed that Meghan privately

 met with Mrs. Obama.

      12.   Both Meghan and Obama also share the same communications

 team lead, Sara Latham. Ms. Latham was named as the head of Prince

 Harry and Meghan’s communications team. Prior to this position, she led

 the political strategy and execution for Obama.



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      13.   The judge’s bias must be personal and extrajudicial; it must

 derive from something other than that which the judge learned by

 participating in the case.” McWhorter v. City of Birmingham, 906 F.2d 674,

 678 (11th Cir. 1990) (citations omitted); see also Liteky v. United States,

 510 U.S. 540, 555 (1994).

      14.   The Plaintiff is unaware if Judge Honeywell has a current

 relationship with Obama, and how far back the relationship has existed.

      15.   In this circuit, “the test for determining whether a judge’s

 impartiality might reasonably be questioned is an objective one and

 requires asking whether a disinterested observer fully informed of the

 facts would entertain a significant doubt as to the judge’s impartiality.”

 Bivens Gardens Office Bldg., Inc. v. Barnett Banks of Fla., 140 F.3d 898,

 912 (11 Cir. 1998) (citing Diversified Numismatics, Inc. v. City of Orlando,

 949 F.2d 382, 385 (11 Cir. 1991).

      16.   The undersigned has no knowledge of whether Judge

 Honeywell is impartial or not. However, just as members of the public

 would entertain a significant doubt as to the judge’s impartiality, the

 Plaintiff has such a doubt, as there seems to be an undeniable connection

 between Obama and the Defendant, MEGHAN MARKLE.

      17.   The most important issue is not simply that justice must be



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 done, but also that justice appear to be done.

      18.   Due to the reasonable questioning of the Judge’s impartiality,

 based on the Judge’s nomination as a Federal Court Judge, the Honorable

 Judge Honeywell should disqualify herself from this Case.

      WHEREFORE, the Plaintiff, SAMANTHA M. MARKLE, respectfully

 requests that the Honorable Charlene E. Honeywell be disqualified from

 the above styled litigation, and that she disqualify herself from acting as

 judge in this subject litigation, and such further and other relief as this

 Court may deem just and proper.




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         DESIGNATION OF EMAIL ADDRESSES FOR SERVICE
             (Pursuant to Rule 2.516 Fla. R. Jud. Admin.)
The undersigned attorneys of The Ticktin Law Group hereby designate the
following Email Addresses for service in the above styled matter. Service
shall be complete upon emailing to the following email addresses in this
Designation, provided that the provisions of Rule 2.516 are followed.
         Serv549@LegalBrains.com; Serv513@LegalBrains.com;
                      Serv512@LegalBrains.com
  SERVICE IS TO BE MADE TO EACH AND EVERY EMAIL ADDRESS
         LISTED IN THIS DESIGNATION AND TO NO OTHERS.



                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing

has been furnished to all parties registered to receive service via CM/ECF

this 17th day of June 2022.


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_/s/ Jamie Alan Sasson _____
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